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14                                 UNITED STATES DISTRICT COURT

15                               NORTHERN DISTRICT OF CALIFORNIA

16                                     SAN FRANCISCO DIVISION

17
     COMMUNITY LEGAL SERVICES IN EAST ) Case No. 3:25-cv-02847-AMO
18   PALO ALTO,                         )
                                        ) DEFENDANTS’ STATUS REPORT AND
19            Plaintiffs,               ) NOTICE OF COMPLIANCE
                                        )
20     v.                               )
                                        )
21   UNITED STATES DEPARTMENT OF        )
     HEALTH AND HUMAN SERVICES, ET AL., )
22                                      )
              Defendants.               )
23                                      )
                                        )
24                                      )

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     DEFENDANTS’ STATUS REPORT AND NOTICE OF COMPLIANCE
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 1                DEFENDANTS’ STATUS REPORT AND NOTICE OF COMPLIANCE

 2          Pursuant to the Court’s Order dated April 29, 2025 (ECF No. 87), Defendants submit this Status

 3 Report to explain the steps taken to comply with the Court’s preliminary injunction.

 4          On April 28, 2025, the Department of Interior (DOI) completed all required internal reviews, and

 5 the DOI contracting officer prepared the final modification and sent the modification to Acacia for

 6 signature. See Ex. A, 2d Supp. Decl. of Sharon Roberts, ¶ 9. On April 29, 2025, Acacia signed and returned

 7 the modification to DOI. Id. ¶ 10. The same day, DOI countersigned, thus completing the bilateral

 8 modification with an effective date of April 29, 2025 and an end date of September 29, 2025. Id. The

 9 effective date of April 29 means that Acacia’s invoices submitted for tasks completed during the period

10 starting April 29, 2025 and ending September 29, 2025 will be paid pursuant to the modified contract

11 terms. Id. ¶ 11. Although a contract with Acacia for CLINs 2-4, including direct-legal services, was not

12 in place between March 21 and April 29, 2025, Acacia may submit a settlement proposal for covered

13 expenses incurred during that time period pursuant to the terms of the partially terminated contract.

14 Id. ¶ 12; see also Email from Acacia, ECF No. 86-1 at 6 (stating “The period of termination [March 21,

15 2025, through April 29, 2025] will remain subject to a Termination Settlement Proposal; Acacia is

16 preparing related guidance and will send that out to the network as soon as possible.”).

17          Because the Acacia contract is in place and money is available to provide direct-legal services

18 pursuant to their agreement with Acacia, Defendants are not “withdrawing the services or funds provided

19 by the Office of Refugee Resettlement (ORR) as of March 20, 2025 . . . particularly ORR’s provision of

20 funds for direct legal representation services to unaccompanied children.” ECF No. 87 at 28. Thus,

21 Defendants are in compliance with the preliminary injunction.

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     DEFENDANTS’ STATUS REPORT AND NOTICE OF COMPLIANCE
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 1 DATED: May 2, 2025                                      Respectfully submitted,

 2
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18
                                       CERTIFICATE OF COMPLIANCE
19
            The undersigned, counsel of record for Defendants certifies that this Status Report contains 2
20
     pages, which complies with the word limit of this Court’s Standing Order. All counsel of record were
21
     served a copy of this status report electronically via ECF.
22

23                                                Respectfully submitted,
                                                  /s/ Katelyn Masetta-Alvarez
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     DEFENDANTS’ STATUS REPORT AND NOTICE OF COMPLIANCE
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